Case:1:15-cv-01337-WHP Doc

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Filed 02/24/15

JS 44C/SDNY 4 LS aps
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The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing arid er vide of PRM
pleadings or other papers as required by law, except as provided by local rules of court. This form, approved by the
Judicial Conference of the United States in September 1974, is required for use of the Clerk of Court for the purpose of
initiating the civil docket sheet.
PLAINTIFFS DEFENDANTS

DEKALB COUNTY EMPLOYEES RETIREMENT SYSTEM, Individually and CONTROLADORA VUELA COMPANIA DE AVIACION, S.A.B. de C.V., et al,

on Behaif of All Others Similarly Situated

(Please see attached Schedule A for additional Defendants)

ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER

Robbins Geller Rudman & Dowd, LLP
58 So. Service Road, Suite 200, Melville, NY 11747 (631) 367-7100

ATTORNEYS (IF KNOWN)

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
(DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

Pursuant to Sections 10{(b) and 20(a) of the Exchange Act [15 U.S.C. Sections 783(b) and 78t (a)}] and Rule 10b-5 promulgated thereunder by the United States
Securities and Exchange Commission {17 C.F.R Section 240,.10b-5).

Has this or a similar case been previously filed in SDNY at any time? No

K] Yes ["] Judge Previously Assigned

if yes, was this case Vol. [_] Invol. [|] Dismissed. No[] Yes ["] If yes, give date & Case No.
IS THIS AN INTERNATIONAL ARBITRATION CASE? No [_] Yes []
(PLACE AN [x] IN ONE BOX ONLY} NATURE OF SUIT
TORTS ACTIONS UNDER STATUTES
CONTRACT PERSONAL INJURY PERSONAL INJURY FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
[} 110 INSURANCE [ ]310 AIRPLANE [ ]362 PERSONAL INJURY- {]610 AGRICULTURE { }422 APPEAL [ ]}400 STATE
|} 120 MARINE [ ]315 AIRPLANE PRODUCT MED MALPRACTICE [ ]620 OTHER FOOD & 28 USC 158 REAPPORTIONMENT
[ } 130 MILLER ACT LIABILITY { ]365 PERSONAL INJURY DRUG [1423 WITHDRAWAL { ]410 ANTITRUST
{]140 NEGOTIABLE [ 1320 ASSAULT, LIBEL & PRODUCT LIABILITY []625 DRUG RELATED 28 USC 157 { 1430 BANKS & BANKING
INSTRUMENT SLANDER {]368 ASBESTOS PERSONAL SEIZURE OF [ ]450 COMMERCE
[1150 RECOVERY OF —_{ ] 330 FEDERAL INJURY PRODUCT PROPERTY [ ]460 DEPORTATION
OVERPAYMENT & EMPLOYERS’ LIABILITY 21 USC 881 PROPERTY RIGHTS [ ]470 RACKETEER INFLU-
ENFORCEMENT LIABILITY {1630 LIQUOR LAWS ENCED & CORRUPT
OF JUDGMENT ~—s-[ } 340 MARINE PERSONAL PROPERTY []640 RR & TRUCK [ ]}820 COPYRIGHTS ORGANIZATION ACT
{1151 MEDICARE ACT —-[ ]345 MARINE PRODUCT []650 AIRLINE REGS [ ]}830 PATENT (RICO)
[ ]152 RECOVERY OF LIABILITY {1370 OTHER FRAUD [ ]}660 OCCUPATIONAL [ ]840 TRADEMARK { 1480 CONSUMER CREDIT
DEFAULTED [ ]350 MOTOR VEHICLE [ ]371 TRUTH IN LENDING SAFETY/HEALTH [ ]490 CABLE/SATELLITE TV
STUDENT LOANS [| 1355 MOTOR VEHICLE []380 OTHERPERSONAL []690 OTHER { ]}810 SELECTIVE SERVICE
{EXCL VETERANS) PRODUCT LIABILITY PROPERTY DAMAGE SOCIAL SECURITY &] 850 SECURITIES/
{1153 RECOVERY OF = [ ]} 360 OTHERPERSONAL = [ 1385 PROPERTY DAMAGE COMMODITIES/
OVERPAYMENT INJURY PRODUCT LIABILITY LABOR [ 1861 HIA (1395¢f) EXCHANGE
OF VETERAN'S [ ]862 BLACK LUNG (923) [ ]875 CUSTOMER
BENEFITS [1710 FAIR LABOR [ 1863 DIWC/DIWW (405(g)) CHALLENGE
[ } 160 STOCKHOLDERS STANDARDS ACT [ ]864 SSID TITLE XVI 12 USC 3410
SUITS {1720 LABOR/IMGMT { }865 RSI (405(g)) [ ]}890 OTHER STATUTORY
1 1190 OTHER PRISONER PETITIONS RELATIONS ACTIONS
CONTRACT [1730 LABOR/MGMT { 1891 AGRICULTURAL ACTS
[ ]} 195 CONTRACT [1510 MOTIONS TO REPORTING & FEDERAL TAX SUITS | 1892 ECONOMIC
PRODUCT ACTIONS UNDER STATUTES VACATE SENTENCE DISCLOSURE ACT STABILIZATION ACT
LIABILITY 20 USC 2255 []740 RAILWAY LABOR ACT { ]870 TAXES (U.S, Plaintiffor [ ]893 ENVIRONMENTAL
{ 1196 FRANCHISE CIVIL RIGHTS [ ]530 HABEAS CORPUS []790 OTHER LABOR Defendant) MATTERS
{ ]535 DEATH PENALTY LITIGATION { }871 IRS-THIRD PARTY [ ]894 ENERGY
{1441 VOTING []540 MANDAMUS & OTHER []791 EMPL RET ING 26 USC 7609 ALLOCATION ACT
[ }442 EMPLOYMENT SECURITY ACT [ ]895 FREECOM OF
REAL PROPERTY [ ]443 HOUSING/ INFORMATION ACT
ACCOMMODATIONS IMMIGRATION [ ]900 APPEAL OF FEE
11210 LAND []444 WELFARE PRISONER CIVIL RIGHTS DETERMINATION
CONDEMNATION { ]445 AMERICANS WITH [ 1462 NATURALIZATION UNDER EQUAL
[ ]220 FORECLOSURE DISABILITIES - { ]550 CIVIL RIGHTS APPLICATION ACCESS TO JUSTICE
[ 1230 RENT LEASE & EMPLOYMENT [ ]}555 PRISON CONDITION []463 HABEAS CORPUS. [ ]950 CONSTITUTIONALITY
EJECTMENT [ ]446 AMERICANS WITH ALIEN DETAINEE OF STATE STATUTES
[}240 TORTS TO LAND DISABILITIES -OTHER []465 OTHER IMMIGRATION
1 }245 TORT PRODUCT [1440 OTHER CIVIL RIGHTS ACTIONS
LIABILITY (Non-Prisoner)
{ ]290 ALL OTHER

REAL PROPERTY

Check if demanded in complaint:

X CHECK IF THIS IS A CLASS ACTION

UNDER F.R.C.P. 23

DEMAND $

OTHER

Check YES only if demanded in complaint
JURY DEMAND: xl yes CO no

DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.?

IF SO, STATE:

JUDGE

DOCKET NUMBER

NOTE: Please submit at the time of filing an explanation of why cases are deemed related.

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(PLACE AN x IN ONE BOX ONLY) ORIGIN
1 Original [_] 4 Reinstated or [_] 5 transfered from [] 6 Muttidistrict C1 7 Appeal to District
2 Removed from 3 Remanded
Proceeding State Court from Reopened (Specify District) Litigation Judge from
. Appellate Magistrate Judge
TC] a. all parties represented Court Judgment
rq b. Atleast one
party is pro se.
(PLACE AN x IN ONE BOX ONLY) BASIS OF JURISDICTION IF DIVERSITY, INDICATE
[]1 U.S. PLAINTIFF []2 U.S. DEFENDANT 3 FEDERAL QUESTION (14 DIVERSITY CITIZENSHIP BELOW.
(U.S. NOT A PARTY) (28 USC 1322, 1441)
CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)
(Place an [X] in one box for Plaintiff and one box for Defendant)
PTF DEF PTF DEF PTF DEF
CITIZEN OF THIS STATE 4 4 CITIZEN OR SUBJECT OF A }3 3 INCORPORATED and PRINCIPAL PLACE 5 5
FOREIGN COUNTRY OF BUSINESS IN ANOTHER STATE
CITIZEN OF ANOTHER STATE 2 2 INCORPORATED or PRINCIPAL PLACE 4 4 FOREIGN NATION 6 6

OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)

1300 Commerce Drive
Decatur, GA 30030
(Dekalb County)

DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)
Please see attached Schedule A.

DEFENDANT(S) ADDRESS UNKNOWN
REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, | HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN THE
RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:

Check one: THIS ACTION SHOULD BE ASSIGNED TO: [| WHITE PLAINS MANHATTAN
(DO NOT cheek-either box if this a PRISONER PETITION/PRISONER CIVIL RIGHTS COMPLAINT.)

DATE 02/24/2041 ADMITTED TO PRACTICE IN THIS DISTRICT
NO
X YES (DATE ADMITTED Mo.95 yr, 1995)

Attorney Bar Code # SR7957

RECEIPT #

Magistrate Judge is to be designated by the Clerk of the Court.

Magistrate Judge is so Designated.

Ruby J. Krajick, Clerk of Court by Deputy Clerk, DATED

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)
Case 1:15-cv-01337-WHP Document2_ Filed 02/24/15

Schedule A

Controladora Vuela Compafiia De Aviacién, S.A.B. de C.V.
Av. Antonio Dovali Jaime No. 70, 13 Floor, Tower B
Colonia Zedec Santa Fe

United Mexican States, D.F. 01210

Enrique Beltranena

c/o Controladora Vuela Compajiia De Aviacion, S.A.B. de C.V.

Av. Antonio Dovali Jaime No. 70, 13 Floor, Tower B

Colonia Zedec Santa Fe
United Mexican States, D.F. 01210

FERNANDO SUAREZ

c/o Controladora Vuela Compajiia De Aviacion, S.A.B. de C.V.

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Gilberto Perezalonso Cifuentes

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United Mexican States, D.F. 01210

Pedro Carlos Aspe Armella

c/o Controladora Vuela Compafiia De Aviacién, S.A.B. de C.V.

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Brian H. Franke

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Scottsdale, AZ 85259
(Maricopa County)

William a. Franke

7701 North Saguaro Drive
Paradise Valley, AZ 85253
(Maricopa County)

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Deutsche Bank Securities Inc.
c/o CT Corporation System
111 Eighth Avenue

New York, NY 10011

(New York County)

Morgan Stanley & Co. LLC

c/o The Corporation Trust Company
Corporation Trust Center

1209 Orange Street

Wilmington, DE 19801

(New Castle County)

UBS Securities LLC

c/o Corporation Service Company
80 State Street

Albany, NY 12207

(Albany County)

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